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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


  CHARLES DEMPSEY, individually, and
  L.D., by her father and natural guardian,
  CHARLES DEMPSEY,
                                    Plaintiff,                NOTICE OF MOTION FOR
                   -against-                                   SUMMARY JUDGMENT

 THE CITY OF ROCHESTER, a municipal entity,                 Case no. 19-cv-6780 (EAW)(MWP)
 JAVIER ALGARIN, ADAM GORMAN,
 JASON RUDOLPH,
                              Defendants.


       Defendants City of Rochester (“City”), Javier Algarin, Adam Gorman, and Jason Rudolph

move this Court pursuant to FED. R. CIV. P. 56(a) for summary judgment on all claims in Plaintiffs’

Complaint. In support of this motion, the Court is referred to the Declaration of Peachie L. Jones,

Esq., with exhibits attached, a Memorandum of Law, and a Statement of Undisputed Facts, all

submitted herewith and made part of this motion.

       Defendants reserve the right to file a reply memorandum of law within fourteen days of

Plaintiff’s filing any opposition to this motion.


Date: August 9, 2024                           PATRICK BEATH
                                               CORPORATION COUNSEL

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